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   1                 IN    THE        UNITED   STATES            DISTRICT   COURT
   2                      CENTRAL DISTRICT OF CALIFORNIA
   3                                    SOUTHERN DIVISION
   4                                            –v\d/V   –   –   –




   5     JACKLINE   MUTHOKA,
                                                         )




   6                      Plaintiff       ,              )




                                                         )




   7     VS   e
                                                         ) Case No .
                                                         ) 8 : 23–cv-01333-FWS-JDE
   8     REGENTS OF THE UNIVERSITY                  OF   )


         CALIFORNIA ,                                    )

   9                                                     )

                          Defendant       .              )

  10                                                     )

  11
  12
  13                REMOTE VIDEO-RECORDED DEPOSITION                         OF

  14                       KELLEY ALEXIS BUTLER, M.D.
  15
  16                         Monday , December                   2 , 2024
  17                             San Diego , California
  18
  19
 20
 21
 22      REPORTED BY :
 23      JANE GROSSMAN, CSR No . 5225
 24
 25      Job No . 7006937


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   1
         throughout your time at UCI? And I know it probably                           10: 15:50

   2     ek)bed and flowed a bit ,           but maybe , like , once a week            10: 15:54

   3     or more frequently than that?                                                 10: 15:57

   4          Ae       I think once a week is about right ,                            10: 15:59

   5          Q    .   Okay .        Would you see Dr . Muthoka both                   10: 16: 07

   6     socially and in the context of school?                                        10: 16: 11

   7          A+       Yes +                                                           10: 16: 14

   8          Q    .   There is some reference in some of the                          10 : 16:29

   9     documents to a big and little                sibling type program.            10 : 16:31

  10          A.       Uh-huh    .                                                     10: 16:36

  11          ()   V   Do you recall that?                                             10: 16:36

  12          A.       Yep .                                                           10: 16 :37

  13          () 0     Okay .        Were you Dr . Muthoka 's big sibling?             10:16:38

  14          Ae       Ye So                                                           10: 16 :42

  15          () e     Okay .        What does that    mean?                           10: 16 :43

  16          A.       So it's        meant to just be someone that                    10: 16:44

  17     you're connected to in a class that’s above you that                          10 : 16 : 47

  18     can offer guidance and support .                If It's , "How do I           10 : 16 : 50

  19     navigate a certain class? How should I study for                              10: 16:55

  20     this specific professor? Can I borrow your                                    10 : 16 : 58

  21     textbooks?      Can I borrow your tools            for   anatomy              10:17:03

  22     lab? " et cetera, that person is just supposed to                             10:17:08

  23     support you through medical school.                                           10 : 17 : 11

  24          Q    .   Sort of like a mentor?                                          10: 17:13

  25          A.       Yeah .                                                          10: 17: 15

                                                                                     Page 15

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   1                A+               Most notably, the Student National Medical                                10 : 21 : 23

   2
         Association, but we both held various leadership                                                      10:21:25

   3     positions supporting the Latino Medical Student                                                       10:21:30

   4     Association                   e                                                                       10:21:35
   5                                 We worked together             on a trip       that we both               10:21:37
   6     took for primarily ultrasound enrichment , but other                                                  10 : 21 : 39

   7     clinical                   endeavors        in   Kenya .                                              10 : 21 : 49

   8                                 We both were --           there was , like , a                            10:21:50

   9     diversity committee for our admissIons . And so we                                                    10:21:53

  10     both had the opportunity to be present for                                                            10:21:57

  11     racially/ethically/socially/economically diverse                                                      10 : 22 : 05

  12     students               .                                                                              10:22:09

  13                                 Yeah , we overlapped in            a lot of different                     10:22 :09

  14     ways   e                                                                                              10:22 : 11

  15                Q   .            But -- I'm going to kind of work from what                                10:22:14

  16     you    just                mentioned    .                                                             10:22:16

  17                                 The Diversity Committee for Admissions --                                 10:22 : 18

  18     do you recall who in the administration you worked                                                    10 : 22 : 21

  19     with on that committee?                                                                               10:22 :23

  20                A.               Marco Angulo .                                                  /
                                                                                                               10 : 22 : 25

  21                () +             And what was the           goal   of   that     committee   ,             10:22:30

  22     if    you know?                                                                                       10 :22 :32

  23                A.               The goal was to make underrepresented                                     10 : 22 : 32

  24     students in medicine feel more seen in the interview                                                  10:22:35

  25     process            8                                                                                  10:22 :42

                                                                                                             Page 19

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 1             Q.      Okay.   When you say you were part of the              10:24:01

 2     interview process, like, the day of the interview,                     10:24:03

 3     what kind of role did you have during the interview?                   10:24:05

 4             A.      We would interview students -- we would                10:24:08

 5     interview applicants.                                                  10:24:10

 6             Q.      Okay.   Did you then provide feedback on               10:24:14

 7     the interview to the committee or admissions or                        10:24:19

 8     somebody else?                                                         10:24:22

 9             A.      Yes.                                                   10:24:23

10             Q.      Okay.   Who would you provide that feedback            10:24:24

11     to?                                                                    10:24:26

12             A.      I know my primary point of contact would               10:24:27

13     have been Marco Angulo.                                                10:24:30

14                     It's not impossible that I would have                  10:24:32

15     communicated to other people in admissions.                            10:24:34

16                     But I know that he was my primary point of             10:24:37

17     contact.                                                               10:24:40

18             Q.      You also mentioned that you had worked                 10:24:51

19     with Dr. Muthoka on a trip to Kenya, I believe, you                    10:24:53

20     said; right?                                                           10:24:56

21             A.      Uh-huh, yes.                                           10:24:57

22             Q.      Do you remember what year that was?                    10:24:58

23             A.      Oh, that was summer twenty- -- I remember              10:25:02

24     2017.        I'm not remembering the exact month that we               10:25:09

25     went.                                                                  10:25:16

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 1               But it is a -- a longstanding tradition                10:25:18

 2     that UCI sends its medical students to various                   10:25:25

 3     countries around the world, specifically focused on              10:25:29

 4     projects related to ultrasound and point-of-care                 10:25:33

 5     ultrasound.                                                      10:25:36

 6               So we developed a trip to Kenya because                10:25:38

 7     it's her home country, she had connections there.                10:25:42

 8               And, yeah, so as a part of that planning               10:25:43

 9     endeavor, I went out on the trip for about                       10:25:46

10     two thirds of the trip itself, but I had to get back             10:25:49

11     early because I was a year ahead of people, and I                10:25:52

12     was entering clinical space in a way that some other             10:25:55

13     students had a whole summer off between their first              10:25:58

14     and second year, if that makes sense.                            10:26:01

15          Q.   Yeah, absolutely.                                      10:26:04

16               So you went out on the trip to Kenya, and              10:26:05

17     you were there for about -- you said about                       10:26:08

18     two thirds of the trip; is that right?                           10:26:09

19          A.   Yeah.   So if it was a total -- I think we             10:26:11

20     were there for a week of planning and just kind of               10:26:13

21     situating all the lodging and such.                              10:26:15

22               And, then, I was there for an actual week              10:26:19

23     of the trip.   That, I think, was two weeks for the              10:26:21

24     general cohort of students that went.                            10:26:24

25          Q.   And you said you were providing                        10:26:26

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   1     point-of-care ultrasound enrichment ; correct?                                             10:26:28

   2               A+          Yeah .          So we -- yes .   We dId an ultrasound                10:26:33

   3     research project , and then we worked with clinical                                        10:26:36

   4     providers on the ground to see patients as well.                                           10 : 26 : 42

   5               Q    ,      And before leaving on that trip in the                               10:26:53

   6     summer of 2017 , did you work with Dr . Muthoka to                                         10:26:54

   7     plan it?                                                                                   10:26:58

   8               A.          Did I work with her to plan it?                Yes .                 10 : 27 : 00

   9               ()   a      Okay. What -- and I -- and, again, I know                            10:27 :03

  10     this is seven years ago , so just the best of your                                         10 : 27 : 06

  11    nlernory        .                                                                           10 : 27 : 09

  12                           Do you recall what the planning entailed                             10 : 27 : 10

  13     for that trip?                                                                             10:27 : 12

  14               Ae          Yeah .          We had --   I just remember it being                 10:27: 13

  15     a several-part endeavor, with Jackie at the helm.                                          10 : 27 : 19

  16                           We had to do a lot            of our own fundraising       .         10:27:23

  17     I   remember              that    .                                                        10:27:26

  18                           I remember that she had to reach out to                              10:27 :27

  19     various            people         in her church     committee .     I remember             10:27:29

  20     we set             up our        own GoFundMe .     We held   our   own                    10:27 :32

  21     fundraising events to actually --                                                          10:27 :46

  22                           (   Clarification        requested by the reporter . )               10:27 : 46

  23                           THE WITNESS :           She had to reach out to                      10:27 :46

  24     various people in her church community to help                                             10:27 : 47

  25     support the trip financially .                                                             10 : 27 : 52

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 1          Q.    Okay.    Do you recall -- again, focusing               10:39:14

 2     on the summer of 2017 or the planning that leads up                10:39:35

 3     to it, do you recall Dr. Muthoka complaining to you                10:39:38

 4     at all about any part of the process with trying to                10:39:41

 5     get the Kenya trip planned?                                        10:39:45

 6          A.    Yes.                                                    10:39:47

 7          Q.    Okay.    What do you recall Dr. Muthoka                 10:39:47

 8     saying?                                                            10:39:49

 9          A.    Just feeling hugely unsupported by the                  10:39:50

10     University; feeling like a lot of this was falling                 10:39:53

11     onto us, instead of the University actually stepping               10:39:56

12     up to help us in the planning effort.                              10:40:01

13                Again, beyond -- the fact that I can't                  10:40:05

14     even remember a faculty touch point should speak                   10:40:06

15     volumes.                                                           10:40:10

16                I -- I really don't remember the                        10:40:11

17     University of California helping at all.                           10:40:12

18          Q.    Okay.    With the Kenya trip; right?                    10:40:15

19          A.    Yes.                                                    10:40:17

20          Q.    Okay.                                                   10:40:17

21          A.    And, then, I think the financial lift was               10:40:24

22     really different.     Compared to trips that were a                10:40:26

23     little bit more established, they just didn't have                 10:40:31

24     to raise as much money as we did, because the                      10:40:36

25     University would offer financial support.                          10:40:38

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   1          Q    .   Okay .      So this would have been time-                    10 : 49 : 23

   2     period-wise , maybe that spring or the winter before                       10:49:27

   3     the trip to Kenya?                                                         10 : 49 : 32

   4          A.       Likely,      yes     .                                       10 : 49 : 33

   5          Q    .   Okay .      And I think you said you don’t                   10:49:34

   6     remember anything specifically              she said, just that            10 : 49 : 46

   7     she was kind of the voice with a lot of nos .                 Is           10 : 49 : 49

   8     that correct?                                                              10:49 :52

   9          A.       Yes .                                                        10:49:53

  10          ()   +
                       Okay .      Did you and Dr . Muthoka exchange                10:49:54

  11     text messages or e-mails about Dr . Toohey during                          10:50:18

  12     this time?                                                                 10:50:20

  13          A+       It's      possible       ,                                   10:50:22

  14          (2   B   As you sit here today, do you remember any                   10 : 50 : 23

  15     of them?                                                                   10 : 50 : 25

  16          A.       No .                                                         10:50:26

  17          Q    .   Did Dr . Muthoka ever tell           you that                10:50:34

  18     Dr . Ju11iane Toohey had said anything discriminatory                      10 : 50 : 39

  19     to Dr . Muthoka?                                                           10 : 50 : 43

  20          Ae       About the Kenya trip specIfically or in                      10:50:56

  21     general?                                                                   10 : 50 : 58

  22          ()   V   No .      Just more general,                                 10:50:58

  23          A.       What I do remember is that we -- I--                         10 : 51 : 11

  24     I didn't receive the same negativity from                                  10:51: 17

  25     Julliane      Toohey in my Panama planning experience                      10 : 51 : 23

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           1    place of being punitive , rather than supportive                                  10:52 :42
/n'\

           2    oftentimes      .                                                                 10:52 :46

           3                    She had a way of singling             out the Black               10 :52 :47

           4    and Brown students in a sea of White students and                                 10:52 :51

           5    making it our problem if something wasn't going                                   10:52 :55

           6    well                                                                              10 :52 :58

           7                    If the Kenya planning trip,             for example               10:52 :58

           8    our planning effort , for example , wasn't going well,                            10:53 :01

           9    it was -- it was our fault .                                                      10:53 :04

          10                    I remember specific examples of being                             10:53:08

          11    getting feedback from her that was negative and                                   10:53:   10

          12    unfair and not received by other students who were                                10 :53 : 14

          13    in the exact same position as I was               .                               10:53:18
/'nR.
          14                    I remember her singIIng out some of our                           10:53:20

          15    extracurricular            efforts and saying that they were                      10 :53:24

          16    detracting from schoolwork, while things that other                               10 :53 :27

          17    students , White students and Asian students , were                               10 :53 :31

          18    doing   weren       't .                                                          10 :53 :34

          19                    I remember her wearionizing her Whiteness                         10:53:35

          20    in a lot of ways to say that how she would have                                   10:53:37

          21    comported herself in a situation was professional,                                10:53:40

          22    and how we were comporting ourself wasn't                                         10:53:43

          23                    She --      she was a doozy .     I don't    mean                 10:53 :46

          24    mean to speak ill            of the dead, but , yeah, she --          she         10 :53 :49

          25    made medical school really hard for Black and Brown                               10:53 :53

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        f-
    1        students        .                                                                             10:53:57

    2                  Q.        I asked the question . So thank you for                                   10:53:58

    3        the      response      .                                                                      10:53:59

    4                            Can I    ask,     so you   said        --    and I was                    10:54: 00

    5
             typing, so I don't know that I got these notes                                                10:54:01

    6        great     .                                                                                   10:54:04

    7                            But you mentioned one example of getting                                  10:54:04

    8        feedback from her that was negative and unfaIr .                                             10:54: 06

    9                            Would that feedback have been in response                                10:54 : 11

   10        to coursework or somethIng else? Do you remember?                                            10:54 : 13

   11                  A.        Typically, on this Idea of                                               10 :54: 16

   12        professionalism, it could have been how you                                                  10 : 54 : 19

   13        comported yourself in , like , a first-                                and                   10:54 :21

   14        second-year didactic                  scenario, where we were mostly                         10:54 :24

   15        in the classroom. It could have been in third and                                            10:54 :29

   16        fourth year, when we were actually on the wards                                              10 : 54 : 33

   17        delivering patient care . But I remember often she                                           10 : 54 : 36

   18        really         weaponized      this     idea   of what           was deemed                  10:54 :40

   19        professional.               And it was only ever Black and Brown                             10:54:43

   20        kids that got brought up for being unprofessional.                                           10 : 54 : 45

   21                  Q.        So timing-wise       , would      --        this    would   have         10:54:50

   22        been both durIng your first                    and second year, so                           10 : 54 : 52

   23        ’ 15/ ' 16 , ' 16/ ' 17 when it           was more a classroom                               10:54:55

   24        activity,           and then also when you transitioned to                                    10 : 55 : 01

   25        more clinIcal              stuff the second two years?                                        10:55:03

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    1    insurance        had nothing           to do with             medicIne           .                       10 : 56 : 23

   2                      I remember           in     the    planning            effort        for   some         10 : 56 : 26

   3     of the work we were doing in the Student National                                                        10:56:28

   4     Medical Association, she would make the point that                                                       10 :56:31

   5     trying to pull students into that planning effort                                                        10 : 56 : 34

    6    was detracting           from their              studies      .     Again,           this   was          10:56:37

    7    efforts        or work done by primarily                          Black         and Brown                10:56:41

    8    students , because the Student National Medical                                                          10:56 :45

    9    Organization –- Association was founded primarily                                                        10 : 56 : 46

   10    to support underrepresented students in medicine                                                         10 : 56 : 50

   11                     I remember, yeah, getting the, "You need                                                10 : 56 : 54

   12    to   be more professional"                       feedback .                                              10 : 57 : 00

   13              Q.     Wejl, for what it's worth , you're probably                                             10:57 : 11

   14    going to havq to rally for the ACA here again                                                            10:57:18

   15    ( inaudible      ).                                                                                      10 : 57 : 18

   16                     (Clbrification requested by the reporter . )                                            10:57:19

   17                     MS . i BERNAL :            Sorry    .   It       was     about       the   ACA          10:57:20

   18    and the stateb of the future on that , so                                   .
                                                                                                                  10:57:21

   19                     But that's beyond the point here .                                                      10:57 :25

   20              Q.     Oka+ .        So these examples from your                                               10:57:31

   21    interactions With Dr. Toohey, do you recall if                                                           10:57:38

   22    Dr . Muthoka w4s involved in                         any of those examples?                              10:57:43

   23              A.     She Imust have been if                       she was one of the                         10:57 :53

   24    adversarial           v4ices     in        our     Kenya trip           planning        .                10 :57:56

   25                     I w4s certainly not the only student that                                                10:58:00

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    1
         don't wIn this , I'm going to be really upset                         ,           11 : 00 : 48

    2
         because people knew me on campus as a person who was                              11:00:50

    3    really entrenched in work for community .                                         11 : 00 : 54

    4                    And I was , you know, the only Black girl.                        11:00:57

    5    I was one of two Black students in a class of a                                   11:00:59

    6    hundred and four .              So there were only so many people                 11:01:02

    7    who could have been up for it .                                                   11:01 : 05

    8                    I get called into Ju11iane Toohey 's office                       11: 01: 07

    9    because she said that my post was threatening to                                  11:01:09

   10    people, that I was not being professional, and that                               11:01: 13

   11    I had to take steps to apologize to other students                                11:01:17

   12    for saying that I would be upset about not winning                                11:01:21

   13    this     scholarship     .                                                        11:01:24

   14                    I remember venting to a lot of my                                 11:01:25

   15    community about how unfair that was and how I was                                 11 :01:28

   16    singled out in a way that seemed really unfair and,                               11 : 01 : 31

   17    quite frankly, seemed really racially motivated,                                  11: 01 :37

   18    because it was a White–facing Latina woman that , you                             11: 01 :41

   19    know, confided in her and that she said, "Hey, you                                11 : 01 : 45

   20    know, I’m going to go to bat for you and --                           and         11 : 01:50

   21    otherwise       punish        Kelley    ."                                        11 : 01 : 52

   22                    So after that interaction,                yeah, I sought          11 :01 :54

   23    a lot of my community -- Jackie would have been one                               11 :01:58

   24    of     those   people    --      to    figure   out   how to   move               11 : 02 : 00

   25    forward and to figure out how to find my footing in                               11 :02 : 03

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        i




    1              () 0      And then after -- so did you have to                                   11:05:40
    2       write an apology letter to Tara Zand as well?                                           11:05:43
    3              A+        I don't remember that .                                                11 : 05 : 47

    4                        I do remember havIng to write one to                                   11:05:48

    5       Mariana , though             .                                                          11:05:50

    6              Q         Okay .          And do you recall when you were                        11 : 05:52

    7       speaking with members of your community , including                                     11:05:57
    8
            Dr . Muthoka, Dr . Muthoka saying anything about her                                    11 : 06 : 00

    9
            own interactions                 with    Dr . Toohey?                                  11:06:04

   10              A.        Just that          they felt      very similar   .   They             11:06:08

   11       felt similarly punitive and similarly unfair .                                         11:06: 12

   12              ()   B    So this was definitely something that                                 11:06:17

   13       stuck out in your brain from early 2016 about an                                       11 :06:20

   14       interaction           with       Dr . Toohey .                                         11: 06:24

   15                        Do you have any other similar , like,                                 11 : 06 : 25

   16       specific instances with Dr . Toohey that kind of                                       11 : 06 : 30

   17       stick out for you as negative or positive -- just                                      11 : 06:33

   18       specIfic        interactions             with   Dr . Toohey?                           11 : 06 :37

   19              Ao        I remember her really wantIng to uplift                               11 :06: 44

   20       and pour into certain student causes and not others                          ;         11 : 06 : 51

   21       namely, she was really happy to be at the helm of                                      11: 06:55

   22       all things for the Latina Medical Student                                              11 : 06:58

   23       Association , but not the Student National Medical                                     11 : 06 :59

   24       Association       e                                                                    11:07:03

   25                        Now, that wouldn't have come in the form                              11 : 07 : 05


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    1    of , you know, being outright                    problematIc   .                  11:07:07

    2                 But when it came to trying to identify                               11:07: 15

    3    funds for students to go to an LMSA conference, for                              11 : 07: 17

    4    example , they were always found, but not for the                                11 : 07 : 22

    5    SNMA .                                                                           11 : 07:26

    6                 If it was for us trying to arrange an                               11: 07:27

    7    event, there was always space in -- in Med Ed, the                               11: 07:28

    8    main building that we had a lot of events in for                                 11 : 07 : 32

    9    LSMA events ;      sometimes not for SNMA, the Student                           11 : 07 :35

   10    National    Medical         Association      .                                   11: 07 :45

   11                 If we were trying to arrange a panel,                               11:07:47

   12    if -- or -- of graduates or other physicians in the                              11 : 07 : 52

   13    area, we had no issue with that for LMSA, but                                    11 :07:55

   14    sometimes    did      for    SNMA +                                              11 : 08:03

   15                 And I remember Marco Angulo being a huge                            11: 08:06

   16    champion for us , while Julliane                   Toohey was not .              11: 08:09

   17                 It might have been because she herself                              11: 08: 17

   18    identified as a Latino [ sic ] woman                  .                          11:08:18

   19                 But I remember just having to work harder,                          11 : 08 : 23

   20    even though I was on leadership boards for both                                  11:08:25

   21    organizations , when it came to planning things for                              11:08:28

   22    the   SNMA and not          for   the     LSMA.                                  11 : 08 : 31

   23                 Let's see . What else can I recall?                                 11 : 08 : 38

   24                 Yeah. And I think that point on how she                             11: 08:42

   25    really weaponized this idea of professionalism                                   11 :08:45


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    1    should be -- hit                 home .    That was an unfortunate                     11 :08: 49

    2    reality           for a lot of Black and Brown students at UCI                         11 :08:52

    3    at the hands of Julliane Toohey .                                                      11:08:59

    4             (2   +      And I have an idea what you mean by that ,                        11:08:59

    5
         but because this is my opportunity here to ask you                                     11:09:02

    6    questions , make sure I get all your testimony, can                                    11:09: 05

    7    you just explain for me what you mean by                                               11:09:07

    8     'weaponizing the idea of professionalism" with                                        11:09:09

    9    respect to what Dr . Toohey did?                                                       11 : 09 : 12

   10             Ae          Yeah .                                                            11 : 09 : 14

   11                         So oftentimes she upheld standards of                             11: 09 : 15

   12    professionalism that were proximal to Whiteness ,                                      11:09:17

   13    down to how I wore my hair, to how I spoke up in                                       11 : 09 : 21

   14    rounds        +                                                                        11 : 09 : 26

   15                         If there was feedback given from people on                        11:09:28

   16    the unit or on the service or in the cIInical space                                    11:09:30

   17    or learning space , often it would make it back to                                     11 : 09 : 35

   18    Julliane Toohey, and she would be the person to talk                                   11 : 09 : 38

   19    about         that    with      us .                                                   11 :09 :41

   20                         So some of this feedback was not what I                           11 :09 :43

   21    was receiving                directly     from   the   people     that   I was         11 : 09 :45

   22    working with .                I would find out after the rotation                      11:09:49

   23    was over, for example .                    And Julliane would bring up                 11: 09 :52

   24    this point of not being professional for that                                           11 : 09 : 56

   25    reason        +                                                                         11 : 09 : 58


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    1
                           So if     it was how you spoke , how you                                  11 : 09 : 58

    2    dressed , how you wore your clothes -- how you wore                                         11: 10:01

    3    your haIr, what makeup you did and didn't wear,                                             11 : 10: 05

    4    whether or not you interrupted someone , et cetera                                          11: 10: 10

    5    a lot       of the       standards            of what was deemed                            11 : 10: 17

    6    professional were unfair because I can't help the                                           11: 10:21

    7    way the hair grows out of my head, for example , or,                                        11: 10:24

    8    yeah, my hoop earnings might be bigger than yours                             .             11 : 10 : 30

    9    It doesn't make me any less professional or capable                               .         11 : 10 : 35

   10                      But I remember being specifically                                         11 : 10 :38

   11    reprimanded          in    her       office     .                                           11 : 10 :40

   12                      So, no, I don't have a paper traII around                                 11 : 10 : 41

   13    these    things      .                                                                      11 : 10 : 44

   14                      But in her office , where she would read                                  11 : 10:45

   15    me the words of different                           people on the units and                 11: 10:47

   16    say, "You know, you need to change how you show up                                          11 : 10 : 49

   17    in these spaces in order to be deemed more                                                  11 : 10 :53

   18    professional, " under the guise of , " I'm trying to                                        11 : 10:56

   19    help    you     succeed,         "                                                          11: 11 :00

   20                      It's hard not to take any of that to be                                   11 : 11 : 05

   21    racially-motivated when I'm the only Black girl                             and             11 : 11 : 09

   22    I'm the only one getting this feedback .                           So , yeah .              11 : 11 : 13

   23            Q   .     Did you talk about any of that with                                       11 : 11 : 19

   24    Dr . Muthoka?                                                                               11 : 11 : 20

   25            A.        Absolutely . I mean , we were two of four                                 11 : 11 :22


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           1    what      she      told      me ,                                                        11 : 15: 56
n\
           2              Q   .      Okay .         And I know you testIfied         that                11 : 15 :57

           3    Dr . Muthoka never disclosed to                      you that she had                    11 : 16 : 07

          4     these similar , like , professionalism meetings or                                       11 : 16 : 11

           5
                whatnot in Dr . Toohey 's office , but that you did                                      11 : 16 : 14

           6    both experience kind of the pushback with the Kenya                                      11 : 16 : 19

           7
                planning trip ; is that right?                                                           11 : 16 : 22

           8              A.         Yes .                                                               11:16 :25

           9                         And I remember when she was going through                           11 : 16 :26

         10     the time that she , like , didn't pass boards , I think                                  11 : 16 : 34

         11     the first            time , I remember her being in meetings                             11 : 16 : 39

         12     I'm not remembering if it was Julliane Toohey or who                                     11: 16:48

          13    else she would have been in those meetings with                             .            11 : 16 : 50

pn\.                                                                                                     11 : 16: 52
         14     But I remember someone in administration making her
          15    life difficult                when it      came to trying to figure out                  11 : 16 : 59

          16    how she was going to do boards again .                           I remember              11 : 17 : 02

          17    that .            I don't -- I don’t -- yeah , I don't remember                          11 : 17 : 04

          18    exactly who she spoke to .                      But I remember her                       11 : 17 : 07

          19    feeling           really      dejected     .                                             11 : 17: 14

          20                         And it seemed really surprising because                             11 : 17 : 16

          21    Jackie was , like , an A-plus-plus-plus student in                                       11: 17 :20

          22    every other subject . And somehow it didn't go right                                     11:17 :23

          23    for    boards         .                                                                  11 : 17 :29

          24                         So I -- I remember that being a really                              11 :17 :30

          25    hard time , but I'm not remembering                       if    it   was Toohey          11 : 17 :31


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    1    in relation to the ultrasound planning effort ,                                           11:43:22

    2    though        .                                                                           11 :43:25

    3              () +         Which year did you say it would have been                          11 :43 :25

    4    for you?                                                                                  11:43:28

    5              A.            It would have been in my second year .                 It         11 : 43 : 28

    6    would have been when Jackie was actually                               a medical          11 : 43 :31

    7    student           +                                                                       11 : 43 : 35

    8              Q   .        Jackie's first year as a medical student?                          11:43:36

    9              A.           Okay.     Likely,      yes   .                                     11:43:39

   10              Q   .        Okay. And it was somethIng along the                               11:43:41

   11    lines of her being -- Jackie not being as capable                                         11 : 43 : 42

   12    because English isn't                      her first    language?                         11:43:46

   13              A.           Correct   e                                                        11:43:49

   14              Q.            Okay .   Was that      something        that   you                11 :43 :50

   15    personally heard Dr . Toohey said or that                                                 11 :43:55

   16    Dr . Muthoka relayed to                     you that Dr . Toohey had said?                11:43 :58

   17              A.            The latter    .                                                   11 : 44 :02

   18              Q   .         Okay .   Do you have any firsthand personal                       11:44 :03

   19    knowledge of whether that was , indeed, said by                                           11 : 44 : 10

   20    Dr . Toohey?                                                                              11 :44 : 13

   21              A.            I wasn't in the room, no           .                              11 :44 : 13

   22              (2 +          And, then, do you recall               Dr . Muthoka ever          11 :44 :21


   23    telling               you that Dr . Toohey told Dr . Muthoka that                         11:44:24

   24    she should go back to her country?                                                        11:44 :31

   25              A.            I remember there being an encouragement                           11:44:41

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    1
         of her returning back to Kenya to practice , you                                        11 : 44 : 44

    2    know,          following             graduation   .                                     11 :44:50

    3              ()   P
                                  Okay .       Did you -- when you say "there                    11 :44:56

    4    being an encouragement of her to return to Kenya to                                     11:44:58

    5    practice, " did you view that as racially                                               11:45:04
    6    discriminatory                   ?                                                      11 : 45 : 10

    7
                  A.              I think what's important to note is that                       11:45: 18

    8    she was not telling                       Mexican students to go practice               11 :45: 19

    9    in   Mexico          .                                                                  11 :45:23

   10             Q     .         Okay .       And it was Dr . Toohey who you                    11 : 45 : 24

   11    recall saying something along those lines?                                             11:45:26

   12             A.              Yes .                                                         11 :45 :28

   13             Q. Okay. Similarly, were you there when                                       11 :45 :29

   14    Dr . Toohey said that?                        Like , dId you personally have           11 : 45 : 33

   15    firsthand knowledge of Dr . Toohey saying that?                                        11:45:36

   16             A.              Again, I wasn't in the room.                                  11:45:39

   17             ()    +         Okay .                                                        11 : 45 : 41

   18             A.              I don't think so .                                             11 : 45 : 42

   19             ()    +         When do you think             that would have been?            11 : 45 : 42

   20             A.              SimIlarly, during my second year -- that's                     11 : 45 : 45

   21    hard .             It could have been when we were inching                              11 :45 :51

   22    towards            clinicals          .                                                 11 : 45 : 55

   23                             I’m not sure . I'm not sure .                                  11 : 45:56

   24              Q.             If I said generally in the -- in your                          11 :45:59

   25    second year , like -- like,                           before 2018 , would that          11 :46 :05


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    1
         endeavor when it comes to puttIng up a bunch of                                     11 : 52 : 22

    2
         students in a different country for several weeks                                   11 : 52 : 26

    3    at      a time .                                                                    11 : 52 : 28

    4
                            And there's     at least double , if      not                    11 : 52 : 29

    5
         triple , the -- well, probably double the students on                               11 : 52 : 31

    6
         that trip as there were comIng to Kenya                 .                          11:52:36

    7              Q.       How many went to Kenya with        you?                         11 : 52 : 38

    8              A+       I believe the total of us was six, I                            11 : 52 : 40

    9    think     .                                                                        11 : 52 : 46

   10              Q.       Then, roughly, 12 would have gone to                            11 :52:47

   11    Panama ;       is that correct?                                                    11:52 :50

   12              Ao       Yes .                                                           11 : 52 : 51

   13                       And instead of the two weeks that we would                      11 : 52 : 51

   14    have spent in Panama, those 12 students spanned,                                   11 :52 :53

   15    like , the entire summer between our first                   and                   11 : 52 : 58

   16    second year, which I believe was eight to ten weeks                      .         11 :53 : 01

   17              Q.       And so to be clear , the monies came -- did                     11:53 : 05

   18    it come from the actual school's budget, or was it                                 11 : 53 : 07

   19    monies that the school organized from outside                                      11 :53 : 11

   20    sources to be provided to -- for the trip?                                         11:53:14

   21              A+       I'm not sure . I'm not sure where the                           11 : 53 : 17

   22    money actually             came from.                                              11 : 53 : 20

   23                       But I -- I know that I -- I spent less out                      11 : 53 : 22

   24    of my pocket and I spent way less time fundraising                                 11:53:24

   25    for my own costs going to Panama as I did for Kenya .                               11 : 53 : 28


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    1    not the first or only student group to attempt to do                                           11 :58:49

    2    a trip outside of the United States . That was not                                             11:58:53

    3    one of the kind of longstanding true                                                           11:58:56

    4    tried-and-true            trips    , like        a Panama .                                    11:58:58

    5                     I know                                                                        11 : 59 : 01

    6            () +     Let me interrupt you, then , Doctor .                            I            11 : 59 : 02

    7    apologize, because I know -- I'm trying to be                                                  11 :59 : 04

    8    respectful        of    your      time .                                                       11 : 59 : 06

    9            A.       No problem.                                                                   11 :59:08

   10            Q.       Let's go right to that point , that                                           11 : 59 : 08

   11    statement        that    you      just     made .                                              11:59 : 10

   12                     What other groups that                       are you aware                    11:59:11

   13    of who attempted to organIze , we'll call it ,                                                 11:59:13

   14    non-established trips outside the United States?                                               11 : 59 : 17

   15            A.       I know a group             of    maybe three     or       --    maybe         11:59:21

   16    three     or four       students         went to Switzerland           .        And            11 : 59 : 25

   17    never once were they met with a "No" -– never once .                                           11:59:30

   18            () e     Do you know what their -- what their                                          11:59:35

   19    mission was? What was the population? What were                                                11:59:36

   20    they studying in Switzerland?                                                                  11:59 :40

   21            Ae       I'm not sure what the focus of their                                          11:59:42

   22    research study was , but I know that it was a                                                  11 : 59 : 44

   23    similar , "Let’s do something focused around                                                   11 :59 : 48

   24    ultra            point of care ultrasound use and                                              11:59:59

   25    education . "           I ’ m not sure what                                                    11:59:59

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    1    physician .          But had -- yeah, but that happened .                          12 :03:56

    2           ()   B   Doctor, I think I understand.                                      12:03:59
    3
                         During the course of your discussion,                              12 : 04 : 01

    4    your answering questions , you used an acronym. And                                12:04:04
    5    I would like you to describe what that is ,                And                     12: 04:08

    6    maybe I wrote it          down incorrectly .     It's   SMSA [ sic ] ,             12 : 04: 10

    7          Ae        The Student National Medical AssociatIon                           12 :04: 14

    8    or   SNMA.                                                                         12 :04: 17

    9           Q    .   And what is that entity?                                           12:04: 19

   10          A+        It's    an organization that was founded                           12 : 04 : 21

   11    to support primarily Black students , but has                                      12 : 04 : 24

   12    since broadened its mission to support all                                         12:04 :28

   13    underrepresented minorities in medicine .                It is a                   12: 04 :31

   14    philanthropic , community service, education --                                    12 : 04 : 47

   15                    (   Clarification   requested by the reporter .          )         12 : 04 : 47

   16                    THE WITNESS :       it is an organization that                     12:04:47

   17    is committed to communIty service , to educational                                 12 : 04 : 49

   18    offerings , to building community within students                .                 12 : 04 : 53

   19    And there are chapters at various medical schools                    ,             12 :04:56

   20    UCI being one of them.                                                             12:05:01

   21    BY MR s GIRL EY :                                                                  12 : 05 :03

   22           () 0     And, then, you mentioned another entity --                         12:05:03

   23    and, again , if I got it wrong, that’s why I'm asking                              12 : 05:05

   24    you -- the LSMA [ sic ]        .                                                   12 : 05 :09

   25           A.       LMSA, the Latino MedIcal Student                                   12:05:11

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    1    Association, with a very similar                               sImIlar mission,             12 :05: 13

    2    just for Latinx students .                                                                  12 :05: 19

    3             () e      Thank     you   .                                                        12:05:22

    4                       Now, so I want to explore that more .                                    12: 05:23

    5                       You -- you -- you talked about ways that                                 12 : 05:25

    6    you felt that Black and Brown students were                                                 12 : 05:26

    7    treated different by UCI and , particularly,                             by                 12 :05:32

    8    Dr . Julliane Toohey.                                                                       12:05g36

    9                       The use of on-campus facilities                    , can you             12: 05:38

   10    talk to me a little                    bit more about how the SN-                           12 : 05 : 43

   11    and I'll          get it right -- -SA [ sic ] was treated                                   12 : 05 :47

   12    differently           than the LMSA as it relates to the                                    12 : 05 : 51

   13    ability to use campus facilities?                                                           12 :05:57

   14             A         Uh-huh    .                                                              12:06:01

   15                       Specifically,          if we -- if the SNMA, the                         12:06:04

   16    Student National Medical Association , wanted to do                                         12:06:08

   17    an event on its own, I just remember running into                                           12 :06: 11

   18    some barriers around trying                     to schedule those events                    12:06:16

   19    on --      on campus .                                                                      12: 06: 19

   20                       But when we partnered                with    1,MSA, with     the         12:06:21

   21    Latino          Medical     Student      Association,          for   example,    we         12 : 06:24

   22    didn't run into those issues .                                                              12:06:27

   23                       Or if I was trying to schedule                                           12 : 06:28

   24             () 0      Let me interrupt you for time .                                          12 : 06 : 30

   25                       Do you think that -- straight up, as we're                               12 :06:32


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